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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
United States of America, )
)
Plaintiff, ) Case No: 19 CR 858

)
Vv. )

) Magistrate Judge Sunil Harjani
)
Jason Brown, )
)
Defendant. )

ORDER

Motion hearing held. As stated on the record, the motion to approve co-counsel for
attorney representation [25] is granted. Attorney Joshua B. Adams is added as CJA counsel for
defendant. Arraignment hearing held on 2/27/2020. Defendant acknowledges receipt of the
indictment, waives formal reading, and enters a plea of not guilty to all counts. 16.1 conference
to be held by 3/5/2020. Pretrial motion will be set at the initial status hearing before the
Honorable Mary Rowland. Status hearing before the Honorable Mary Rowland is set for
3/26/2020 at 1:30 p.m. Government moves to exclude time, and without objection, the time
from 2/27/2020 through 3/26/2020 is excluded under 18 U.S.C. § 3161(h)(7) to serve the ends of
justice. Excluding time will permit the parties to review discovery materials and allow the
reasonable time necessary for effective preparation. Such delay outweighs the interests of the
public and the defendant in a speedy trial, particularly at this early stage of the case

Arr (T: 04)
Motion (T:06)

Date: 2/27/2020 /s/ Sunil R. Harjani
Sunil R. Harjani
United States Magistrate Judge
